      Case 4:22-md-03047-YGR
     3:24-cv-03069-SAL         Document
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           Case MDL No. 3047 Document 398 Filed 06/05/24 Page 1 of 2

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                                   UNITED STATES JUDICIAL PANEL                                          *UNºº
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                                    MULTIDISTRICT LITIGATION                                      
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IN RE: SOCIAL MEDIA ADOLESCENT                                                                           
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                                                     MDL No. 3047



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO í32)



On October 6, 2022, the Panel transferred 20 civil action(s) to the United States District Court for the
Northern District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See 637 F.Supp.3d 1377 (J.P.M.L. 2022). Since that time, 145 additional action(s) have been
transferred to the Northern District of California. With the consent of that court, all such actions have been
assigned to the Honorable Yvonne Gonzalez Rogers.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Rogers.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of October 6, 2022, and, with the consent of that court, assigned
to the Honorable Yvonne Gonzalez Rogers.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7íday
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:


   Jun 05, 2024
                                                           Tiffaney
                                                                ney D. Pete
                                                           Clerk of the Panel
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                                                                           el
                                                                                  I hereby certify
                                                                                            
                                                                                                   that the annexed
                                                                                instrument is a true and correct copy
                                                                                  of the original on file in my office.

                                                                            ATTEST:
                                                                            Clerk, U.S. District Court
                                                                            Northern District of California


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                                                          6 Page
                                                             Page22ofof22
         Case MDL No. 3047 Document 398 Filed 06/05/24 Page 2 of 2




IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                            MDL No. 3047



                     SCHEDULE CTOí32 í TAGíALONG ACTIONS



  DIST       DIV.      C.A.NO.      CASE CAPTION


NORTH CAROLINA EASTERN

                                    Franklin County Board of Education v. Meta Platforms, Inc.
  NCE         5       24í00265      et al

NORTH CAROLINA MIDDLE

                                    DURHAM PUBLIC SCHOOLS BOARD OF EDUCATION
  NCM         1       24í00343      v. META PLATFORMS, INC. et al

SOUTH CAROLINA

  SC          3       24í03069      Barnett v. SNAP Inc.
